                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


  In re                                             Chapter 11
                                                    (Subchapter V)
  JLM COUTURE, INC.,
                                                    Case No. 23-11659 (JKS)
                  Debtor.


                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                   HEARING ON NOVEMBER 21, 2023 AT 10:00 A.M. (ET)


  THIS HEARING WILL BE HELD BY VIDEO VIA ZOOM. BOTH VIDEO AND AUDIO
 WILL BE THROUGH ZOOM. COURTCALL WILL NOT BE USED FOR THIS HEARING.
THE COURT IS ASKING ALL PARTIES TO REGISTER THEIR ZOOM APPEARANCE NO
   LATER THAN NOVEMBER 20, 2023 AT 4:00 P.M. (ET) AT THE PROVIDED LINK:

  https://debuscourts.zoomgov.com/meeting/register/vJIsd-qrpzsvHcqd11DdkZKHzQq4XI81TgQ

  YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM OR YOU WILL
                 NOT BE ALLOWED INTO THE MEETING.

                         Topic: JLM Couture, Inc./23-11659 (JKS)
             Time: November 21, 2023 at 10:00 A.M. Eastern Time (US and Canada)


 STATUS CONFERENCE:

 1.       Order Setting Status Conference [D.I. 50, Entered 10/19/23].

          Related Pleadings:

                 A.      Subchapter V Status Report [D.I. 79, Filed 11/7/2023].

          Objection Deadline: None.

          Objections/Responses: None.

          Status: This matter is going forward as a status conference.
Dated: November 17, 2023
                               CROSS & SIMON, LLC

                               /s/ Kevin S. Mann
                               Kevin S. Mann (No. 4576)
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                               Counsel to the Debtor and
                               Debtor in Possession




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